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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                                    2:09-cr-77-FtM-29SPC

IVAN CURBELO
_____________________________


                FINDINGS OF FACTS AND CONCLUSIONS OF LAW

       This matter came before the Court on a limited remand from the

Eleventh Circuit Court of Appeals (Doc. #504) filed on July 7,

2011. Defendant’s retained counsel moved to withdraw as counsel on

appeal, and      the   Eleventh   Circuit     remanded the     matter   to   the

district court for an evidentiary hearing, and to submit findings

of    facts   and   conclusions   of   law.      The   Court   conducted     the

evidentiary hearing on August 29, 2011, with defendant, various

family members, retained counsel, and counsel for the government

present.1

       The Court makes the following findings of fact:

       1.     Defendant Ivan Curbelo retained attorney Rene Suarez

pursuant to an oral agreement.         Both defendant and counsel agree

that the fee was $15,000, and the services to be provided by

counsel did not include an appeal.              The $15,000 was paid from

$6,000 contributed by defendant’s sister and $9,000 contributed by




       1
      Defendant and his attorney advised that they did not require
an in camera proceeding and did not have any objections to the
presence of government counsel.
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defendant’s wife’s daughter.        No additional amount is due to Mr.

Suarez.

       2.   Mr. Suarez filed a Motion for Substitution of Counsel

(Doc. #77) on October 15, 2009.          An Order (Doc. #81) granted the

motion the next day, and Mr. Suarez represented defendant for the

duration of the proceedings in the district court.

       3.   A five-count Superceding Indictment (Doc. #104) was filed

on October 27, 2009.         An eight-day jury trial was conducted from

May 18 through May 28, 2010, and defendant was sentenced on

September 13, 2010, and Judgment (Doc. #420) was entered the next

day.   Mr. Suarez represented defendant during pretrial, trial, and

sentencing.

       4.    Mr.    Suarez   estimated   that   he   spent   over   200   hours

reviewing discovery materials and preparing for trial, in addition

to the eight days of actual trial time.          Because he charged a flat

fee, Mr. Suarez maintained no time records.            The Court finds that

an estimate of 200 hours pretrial time and at least 50 hours trial

time is a conservative but reasonable estimate.              This yields an

hourly rate of $60 per hour for Mr. Suarez’s professional services.

       5.   The Court heard testimony from defendant, who confirmed

the    statements    of   Mr.   Suarez     regarding   the   attorney-client

relationship and fee arrangements.          Defendant also confirmed that

the information in the Affidavit he signed on February 24, 2011,

for the Eleventh Circuit Court of Appeals was and is true and


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accurate, and that he has no assets from which to pay an attorney

for services on appeal.           Defendant is serving a ten year sentence

of   imprisonment,    and    has    no   current income.     Defendant   also

testified he spoke with various family members, and none are able

to contribute any money for an appellate attorney.

      6.   The Court also heard testimony from defendant’s wife, the

wife’s daughter, and defendant’s cousin.           All testified that they

had no funds which could be contributed to help pay for an

appellate     attorney      for    defendant,   and   each   had   financial

obligations of their own which made this testimony credible.

      The Court makes the following conclusions of law:

      1. Under 18 U.S.C. § 3006A, an eligible defendant is entitled

to have counseled representation when, inter alia, the Sixth

Amendment requires it or when the defendant “faces loss of liberty

in a case, and Federal law requires the appointment of counsel.” 18

U.S.C. § 3006A(a)(1)(H)-(I).

      2.   A defendant in a criminal case has a Sixth Amendment right

to counsel on direct appeal, Hill v. Jones, 81 F.3d 1015, 1024

(11th Cir. 1996), and therefore may have counsel appointed pursuant

to Section 3006A.

      3.    To be eligible for court appointed counsel, a criminal

defendant must be “financially unable to retain counsel”.                  18

U.S.C. § 3006A(b). If a defendant is financially unable to pay




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counsel whom he retained, counsel may be appointed for proceedings,

including an appeal.        18 U.S.C. § 3006A(c).

       4.   In    this   context,   a   defendant   need    not   literally   be

“indigent,” although indigency is sufficient but not necessary for

the appointment of counsel. Government of Canal Zone v. Peach, 602

F.2d 101, 105 n.1 (5th Cir. 1979). “Indigency” is a shorthand way

of stating a person is financially unable to retain counsel.

United States v. Barcelon, 833 F.2d 894, 895 n.2 (10th Cir. 1987).

       5. Defendant bears the burden of persuading the court that he

is financially unable to obtain counsel.                 Barcelon, 833 F.2d at

896.

       6.   Defendant Ivan Curbelo has met his burden of establishing

that he is financially unable to pay his retained counsel for an

appeal and is financially unable to retain other counsel for his

appeal.      If Mr. Suarez is permitted to withdraw, defendant is

eligible for appointment of counsel for his appeal.

       7.        The   attorney   fee   received    by    Mr.   Suarez   covered

representation through the sentencing, and did not include any

services on appeal.

       8.   The fee paid to Mr. Suarez was not in excess of what would

constitute a reasonable fee under the circumstance.                Indeed, the

hourly rate is less than paid to court-appointed counsel.

       Accordingly, it is now

       ORDERED:


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      The Clerk of the Court shall transmit these Findings of Facts

and Conclusions of Law, along with a copy of the transcript of the

evidentiary hearing (Doc. #511), to the Eleventh Circuit Court of

Appeals.

      DONE AND ORDERED at Fort Myers, Florida, this           30th    day of

August, 2011.




Copies:
Counsel of Record
Ivan Curbelo
Eleventh Circuit Court of Appeals




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